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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SUNMOST INVESTMENTS LIMITED, d/b/a
VANGUARD BAGS (H.K.) COMPANY,

                          Plaintiff,                                   ORDER
                   – against –                                    12 Civ. 9430 (ER)

SCHIFTER + PARTNERS LLC,

                          Defendant.


RAMOS, D.J.:


       On December 28, 2012, Sunmost Investments Limited brought breach of contract and

related claims against Schifter + Partners LLC. Doc. 1. On June 12, 2013, the case was stayed

pending the outcome of Defendant’s bankruptcy proceeding. Doc. 18. On December 20, 2013,

the Court directed the parties to submit a status update by January 3, 2014 and every three

months thereafter. Id. �e parties did not submit any status updates. On October 8, 2020, the

Court directed the parties to submit a joint status report by October 22. Doc. 20. On October 21,

counsel for Defendant informed the Court that the bankruptcy proceeding had concluded and

Defendant had dissolved seven years ago, and suggested that Plaintiﬀ voluntarily dismiss the

action. Doc. 22. Plaintiﬀ’s counsel informed the Court that defense counsel had told him the

same, but Plaintiﬀ did not request dismissal. Doc. 21. On October 23, the Court issued an order

for Plaintiﬀ to show cause why the Court should not dismiss this case for failure to prosecute at a

hearing on November 6. Doc. 23. On November 5, Plaintiﬀ requested that this Court dismiss

the case and cancel the November 6 hearing. Doc. 24.
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       Plaintiﬀ’s request is GRANTED. �e Clerk of Court is respectfully directed to terminate

the letter motion, Doc. 24, and close the case.

       It is SO ORDERED.


Dated: November 5, 2020
       New York, New York

                                                         EDGARDO RAMOS, U.S.D.J.




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